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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
In re:

Manuel Menize, Jr. and                                 Case No. 6:18-bk-06338-CCJ
Ruth Elizabeth Menize,                                 Chapter 7
       Debtor(s).
                                           /

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE, that the undersigned counsel hereby enters their appearance

on behalf of, Quicken Loans Inc., a secured creditor in connection with property located at 1949

McKinley Ave., Melbourne, FL 32935 with loan number XXX-0436 in the above-captioned

proceeding, and requests that all matters which must be noticed to creditors, any creditors'

committees, and any other parties-in-interest pursuant to Fed. R. Bankr. P. 2002, whether sent by

the Court, the Debtors, or any other party in the case, be sent to the undersigned; and pursuant to

Fed. R. Bankr. P. 2002(g), requests that the following be added to the Court's master mailing list:

                                    Leslie Rushing, Esq.
                            Quintairos, Prieto, Wood & Boyer, PA
                              1475 Centrepark Blvd., Suite 130
                                West Palm Beach, FL 33401

         Dated: November 1, 2018

                                               Respectfully submitted,

                                               /s /Leslie Rushing
                                               Leslie Rushing, Esq.
                                               Florida Bar No. 98106
                                               Quintairos, Prieto, Wood & Boyer, PA
                                               1475 Centrepark Blvd., Suite 130
                                               West Palm Beach, FL 33401
                                               Phone: (561) 686-1880
                                               Fax: (561) 686-1886
                                               Primary Email:
                                               leslie.rushing@qpwblaw.com
                                               Secondary Email:


                                                                                  QPWB# 125069
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                                            flmdbknotices@qpwblaw.com



                               CERTIFICATE OF SERVICE

        I certify that I have caused to be served a copy of the foregoing Notice of Appearance
and Request for Notice, by first class mail, postage prepaid or by CM/ECF electronic filing upon
the parties listed below on this day.

Dated: November 1, 2018                                   /s/ Leslie Rushing
                                                   Leslie Rushing, Esq.
                                                   Florida Bar No. 98106

Copies Furnished To:

By CM/ECF Receipt:

J Christopher Crowder, Esq.
Faro & Crowder PA
1801 Sarno Road, Suite 1
Melbourne, FL 32935
Email: JCrowder@Farolaw.com

Trustee
Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

U.S. Trustee
United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

By First Class Mail:

Manuel Menize, Jr. and Ruth Elizabeth Menize
1949 McKinley Ave.
Melbourne, FL 32935




                                                                               QPWB# 125069
